                    Case 2:21-cv-02113-JAR-TJJ Document 8 Filed 03/26/21 Page 1 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                            District
                                                    __________       of Kansas
                                                               District of __________

        JARED NALLY and THE INDIAN LEADER                             )
                  ASSOCIATION                                         )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 2:21-cv-02113
                                                                      )
    RONALD J. GRAHAM, in his individual capacity                      )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mr. Ronald J. Graham
                                           President of Haskell Indian Nations University
                                           Office of the President
                                           155 Indian Avenue
                                           Lawrence, KS 66046



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Douglas Bonney
                                           5542 Crestwood Drive
                                           Kansas City, MO 64110




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:             3/3/2021                                                                          /s/ Lisa Bateman
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                     Case 2:21-cv-02113-JAR-TJJ Document 8 Filed 03/26/21 Page 2 of 2



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:21-cv-02113

                                                               PROOF 0F SERVICE
                     (ThissectionshouldnotbefiledwiththecourtunlessrequiredbyFed.R.Civ.P.4a))

           This Summons for /#ame a/I."d!.vi.d"aJ a#d fl.!Je, I/fl"}!/

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                                                                                     On (date)


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                                                     a person of suitable age and discretion who resides there,

            on(date)       3 'j!2;JZ;,          -        and mailed a copy to the individual's last known address; or

                                                                                                                                   who is
            I I served the summons on /7!ame a/I.r!dl.vz.d"4//

             designatedbylawtoacceptserviceofprocessonbehalfof/#ameo/orga#!.zo#.o"/
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   Additional information regarding attempted service, etc :

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